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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



UNITED STATES OF AMERICA,              §
                                       §
                   Plaintiff,          §
                                       §
v.                                     §           CRIMINAL NUMBER H-04-025
                                       §
JEFFERY K. SKILLING and                §
KENNETH L. LAY,                        §
                                       §
                   Defendants.         §


                       MEMORANDUM OPINION AND ORDER


       Pending before the court is the United States’ Motion for

Leave to Cross-Examine Defendant Lay Concerning Valhalla (Docket

Entry No. 900).      For the reasons explained below, the motion will

be denied.

                              I.    Introduction

       Citing Federal Rule of Evidence 608, the government moves the

court to allow cross-examination of defendant Lay on his role in

the “Valhalla” incident.           Asserting that Lay’s testimony during

direct examination has made his credibility and truthfulness an

issue, and that evidence of the Valhalla incident shows that “Lay

had knowingly acquiesced in ignoring a fraud directed at Enron and

had lied to Enron’s employees about the fraud,”1 the government


       1
      United States’ Motion for Leave to Cross-Examine Defendant
Lay Concerning Valhalla (United States’ Motion to Cross-Examine),
Docket Entry No. 900, p. 2.
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argues that it should be allowed to cross-examine Lay about his

conduct during the Valhalla incident because that conduct is highly

probative of his credibility and truthfulness.2              Citing Federal

Rule of Evidence 403, Lay argues that the government should not be

allowed to cross-examine him about Valhalla because the events at

issue occurred over 18 years ago, the evidence surrounding those

events do not establish that he engaged in any wrongdoing, and

       [i]nquiry into ‘Valhalla’ will inevitably lead to a mini-
       trial and substantially protract the length of these
       proceedings. Furthermore, placing a citizen accused in
       the position of defending and litigating uncharged and
       unproven conduct of this vintage is simply unfair and,
       therefore, well within the Court’s discretion to
       exclude.3


                                II.   Analysis

A.     Applicable Law

       Federal Rule of Evidence 608(b) provides in pertinent part:

       [s]pecific instances of the conduct of a witness, for the
       purpose of attacking or supporting the witness’ character
       for truthfulness, other than conviction of crime as
       provided in rule 609, may not be proved by extrinsic
       evidence. They may, however, in the discretion of the
       court, if probative of truthfulness or untruthfulness, be
       inquired into on cross-examination of the witness
       (1) concerning the witness’ character for truthfulness or
       untruthfulness . . .

       The Fifth Circuit has explained that under Rule 608(b), “at

the discretion of the trial court . . . prior conduct may be


       2
        Id. at p. 1.
       3
      Defendant Lay’s Reply to United States’ Motion for Leave to
Cross-Examine Defendant Lay Concerning Valhalla (Lay’s Response),
p. 2.

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inquired into on cross-examination of a witness if the evidence

tends to test the truthfulness of testimony given on direct

examination.”       United States v. Riggio, 70 F.3d 336, 339 (5th

Cir.), cert. denied, 116 S.Ct. 1366 (1995).                     See also Bufford v.

Rowan Companies, Inc., 994 F.2d 155, 159-160 (5th Cir. 1993)

(Rule 608(b) “forbids the use of extrinsic evidence of a specific

instance     of    conduct    to    attack     a     witness’s       character      for

truthfulness. It does not bar, however, extrinsic evidence offered

to contradict a witness’s testimony about a material issue in the

case.”).      Although    Rule     608(b)    “clearly       applies     to   evidence

introduced    to    impeach   the    testimony       of     a    witness,”   id.,    “a

prosecutor may not use impeachment as a guise for submitting to the

jury    substantive      evidence     that     is     otherwise       unavailable.”

United States v. Tomblin, 46 F.3d 1369, 1388-1389 (5th Cir. 1995)

(citing United States v. Silverstein, 737 F.2d 864, 868 (10th Cir.

1984)).    Instead, “Rule 608 authorizes inquiry only into instances

of misconduct that are ‘clearly probative of truthfulness or

untruthfulness,’      such    as    perjury,       fraud,       swindling,   forgery,

bribery, and embezzlement.’”          Id. (quoting United States v. Leake,

642 F.2d 715, 718 (4th Cir. 1981)).                See also        United States v.

Waldrip, 981 F.2d 799, 803 (5th Cir. 1993) (applying Leake standard

to forgery evidence).

       Rule 403 allows the trial court to exclude probative evidence

offered under Rule 608 “if the prejudicial effect substantially


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outweighs the probative value.” United States v. Sanders, 343 F.3d

511, 518-519 (5th Cir. 2003).         Rule 403 provides that

       relevant, evidence may be excluded if its probative value
       is substantially outweighed by the danger of unfair
       prejudice, confusion of the issues, or misleading the
       jury, or by consideration of undue delay, waste of time,
       or needless presentation of cumulative evidence.

“‘Unfair prejudice’ as to a criminal defendant, speaks to the
capacity     of   some   concededly    relevant    evidence    to   lure      the
factfinder into declaring guilt on a ground different from proof
specific to the offense charged.”           Old Chief v. United States, 117
S.Ct. 644, 650 (1997).
B.     Valhalla Incident
       The government describes the Valhalla incident as follows:

       Lay learned in February 1987 that two executives at Enron
       Oil Corporation (based in Valhalla, New York) had
       defrauded the company by, among other things, shifting
       profits through the creation of fictitious losses,
       opening an off-the-books account by means of a
       “fraudulent banking transaction,” paying an unauthorized
       $250,000 bonus to an Enron Oil employee, depositing the
       proceeds of the sale of executive’s company car into one
       of the executive’s personal bank account, fraudulently
       diverting more than $5 million of Enron’s money as part
       of the scheme, and presenting falsified bank account
       records to Lay. Although Lay knew of this fraudulent
       activity, he declined to fire the two executives because
       they “made too much money to be fired.” When, later in
       1987, the executives’ conduct resulted in hundreds of
       millions of dollars in losses to Enron and was revealed
       to the public, Lay lied to Enron employees at an all-
       employee meeting about when he learned of the fraud and
       the extent of his knowledge of the fraud. In a later
       memorandum to Enron employees, Lay misleadingly portrayed
       management as stymied in its desire to prevent fraud and
       wrote, “if there is a lesson to be learned . . . everyone
       . . . must abide by the company’s policies, procedures
       and controls and if anyone suspects that this is not
       being done, he or she must report it immediately before


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       any damage is done.”             See Exhibit 4 to Government’s
       Rule 404(b) Notice.4


C.     Application of Law to Facts

       For the reasons explained below the court concludes that the
government’s motion to cross-examine Lay about Valhalla should be
denied under Rule 608 because the government’s Valhalla allegations
neither contradict his direct testimony on a material issue, nor
constitute instances of misconduct by Lay that are “‘clearly
probative of truthfulness or untruthfulness,’ such as perjury,
fraud, swindling, forgery, bribery, and embezzlement.’”              Tomblin,
46 F.3d at 1389.           The court also concludes that the government’s
motion to cross-examine Lay about Valhalla should be denied under
Rule 403 because any minimal probative value of the Valhalla
evidence is substantially outweighed by the danger of unfair
prejudice.
       1.    Rule 608(b)
       The government argues that Lay opened the door to cross-

examination        about     Valhalla    because   that   incident   directly

contradicts three separate statements that he made during his

direct examination.


             (a)    “Never Hesitates to Jump In”

       The government argues that it should be allowed to cross-

examine Lay about Valhalla because



       4
        United States’ Motion to Cross-Examine, pp. 2-3.

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        Lay testified on direct that although he is “more of a
        delegator,” he “never hesitate[s] to jump in if [he]
        feels like something is going wrong or something is not
        being done right.” 4/24/06 Tr. 14562 (excerpts of Lay’s
        direct testimony are attached as Exhibit C).         The
        Valhalla evidence directly contradicts this statement by
        showing that Lay did not “jump in” when he learned that
        something was “going wrong.”5

        The   governments’     description      of   Valhalla    is   that     Enron

executives engaged in fraud and that “[a]lthough Lay knew of this

fraudulent activity, he declined to fire the two executives because

they ‘made too much money to be fired.’”6                   The court is not

persuaded      that     the   government’s      allegations      about   Valhalla

contradict      Lay’s    testimony   that      although    he    is   “more    of   a

delegator,” he “never hesitate[s] to jump in if [he] feels like

something is going wrong or something is not being done right.”7

The     government      alleges   that   Lay    declined    to    fire   the    two

executives, it does not allege that firing the two executives was

the only way that Lay could have “jumped in” to the situation, or

that Lay failed to “jump in” and take other action, e.g., to stop

the fraud, to guard against its reoccurrence, or to discipline the

two executives.          Moreover, the government’s argument that the

Valhalla evidence shows that “Lay did not ‘jump in’ when he learned



        5
      Id. at p. 4 (citing Excerpts from Lay’s direct testimony
attached thereto as Exhibit C, 4/24/06 Tr. 14,562).
        6
         Id. at p. 2.
        7
      Id. at p. 4 (citing Excerpts from Lay’s direct testimony
attached thereto as Exhibit C, 4/24/06 Tr. 14,562).

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that something was ‘going wrong,’”8 does not demonstrate that Lay

engaged in acts of misconduct that are “‘clearly probative of

truthfulness or untruthfulness,’ such as perjury, fraud, swindling,

forgery, bribery, and embezzlement.’”              Tomblin, 46 F.3d at 1389.

Accordingly,          the   court   concludes    that   Lay’s    testimony      that

“although he is ‘more of a delegator,’ he ‘never hesitate[s] to

jump in if [he] feels like something is going wrong or something is

not being done right,’”9 did not open the door to cross-examination

about Valhalla.


                (b)    “Live by All the Rules”

     The government argues that it should be allowed to cross-

examine Lay about Valhalla because

     Lay testified that “I’ve always tried to live by all the
     rules and all of the laws and certainly have done — take
     a strong — a lot of effort to make sure that happens.”
     4/24/06 Tr. 14562. As in Riggio, the government should
     be allowed to impeach this testimony with evidence that
     he ignores the rules when it is in his or Enron’s
     interest to do so.10

Lay’s testimony and the Valhalla allegations are distinguishable

from the testimony and the extrinsic evidence at issue in Riggio.

     In     Riggio      the   defendant    was   indicted,      inter   alia,    for

conspiracy to commit arson.           On direct examination the defendant



     8
      Id.
     9
      Id.
     10
          Id.

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testified, “I’ve never burned anything down in my life,” and “I’ve

never been involved in criminal activity.” 70 F.3d at 339. During

cross-examination the prosecutor questioned him about four separate

fires for which no charges had been made.             Since evidence of the

four    fires     was   introduced   to   rebut    the   defendant’s   direct

testimony, and since that evidence was highly probative of the

conspiracy to commit arson offense with which the defendant was

charged, the Fifth Circuit held that the district court’s decision

to allow cross-examination about the four fires as impeachment

evidence was neither erroneous nor an abuse of discretion.             Id.

       Unlike Riggio, who testified that he had never been involved

in criminal activity, Lay testified only that he has “always tried

to live by all the rules and all the laws.”              He did not testify

that he has always succeeded, or that he has never broken any law

or rule.       Moreover, the government’s allegation that

       [w]hen, later in 1987, the executives’ conduct resulted
       in hundreds of millions of dollars in losses to Enron and
       was revealed to the public, Lay lied to Enron employees
       at an all-employee meeting about when he learned of the
       fraud and the extent of his knowledge of the fraud,11

neither contradicts his direct testimony that he has “always tried

to live by all the rules and all the laws” nor shows that Lay

engaged in acts of misconduct that are “‘clearly probative of

truthfulness or untruthfulness,’ such as perjury, fraud, swindling,

forgery, bribery, and embezzlement.’”             Tomblin, 46 F.3d at 1389.

Accordingly, the court concludes that Lay’s testimony that he has

       11
            Id. at p. 2.

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“always tried to live by all the rules and all of the laws and

certainly have done — take a strong — a lot of effort to make sure

that happens,”12 did not open the door to cross-examination about

Valhalla.


                (c)   “Not the Kind of Conduct that We Will Tolerate”

     The government argues that it should be allowed to cross-

examine Lay about Valhalla because

     Lay testified that in an answer given during the
     August 14 all-employee meeting he was trying to
     communicate that management integrity is “not the kind of
     conduct that we will tolerate.”      4/24/06 Tr. 14645.
     Again, the Valhalla evidence directly impeaches the
     truthfulness of this statement by showing that in the
     past Lay tolerated not only bad management but out-and-
     out fraud.13

     For the reasons explained above in § II.C.1(a), the court is

not persuaded that the government’s allegations about Valhalla

contradict Lay’s testimony that he would not tolerate lapses in

managerial integrity.           Accordingly, the court concludes that Lay’s

testimony that lapses in managerial integrity were “not the kind of

conduct that we will tolerate” did not open the door to cross-

examination about Valhalla.


     2.         Rule 403

     As     described      by   the   government,   the   Valhalla   incident

transpired over 18 years ago, the fraud involved was not committed


     12
          Id. at p. 4.
     13
          Id.

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by Lay, but by two executives whom Lay declined to fire, and when

fraud-related losses became public Lay lied to Enron employees

regarding how much he knew about the fraud and when he knew it.                In

this case the government alleges that Lay personally conspired with

others and personally committed various types of fraud.                    The

government’s allegations about Lay’s Valhalla conduct are not

factually similar to the charges leveled against Lay in this case.

       Since some of the charges leveled against Lay in this case are

based on allegations that he lied to employees about how much he

knew about Enron’s deteriorating financial condition and when he

knew it, the       court is persuaded that the government’s Valhalla

allegations that Lay lied to employees about how much he knew about

the Valhalla fraud and when he knew it pose a substantial risk of

confusing the issues and misleading the jury into deciding guilt on

a ground different from proof of the specific offenses charged.

       The court is also persuaded that presentation of the Valhalla

evidence will inevitably lead to a mini-trial on extraneous issues

that will unduly protract these already protracted proceedings.

For these reasons the court concludes that the government’s motion

to cross-examine Lay on the Valhalla incident should also be denied

under Rule 403 because the evidence is only marginally relevant,

and its probative value is substantially outweighed by the danger

of    unfair   prejudice    resulting    from   confusion   of   the   issues,


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misleading the jury, and unduly delaying the trial with the

needless presentation of cumulative evidence.


                     III.   Conclusions and Order

     For the reasons explained above, the United States’ Motion for

Leave to Cross-Examine Defendant Lay Concerning Valhalla (Docket

Entry No. 900) is DENIED.

     SIGNED at Houston, Texas, on this 28th day of April, 2006.




                                                    SIM LAKE
                                          UNITED STATES DISTRICT JUDGE




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